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 Towaki Komatsu
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 October 1,2019
                                                                                   ocT 01 m
 United States District Judge Margo Brodi
 United States District Court                                             PRO SE OFFiCE
 225 Cadman Plaza East
 Brooklyn, New York 11201

        Re:     Community Housing Improvement Program v. City ofNew York,
                No. 19-cy-4087(MKB)(RML)(E.D.N.Y.)


 Dear Judge Brodi,

 After filing a letter again yesterday in the action referenced above in the Pro Se office located

 inside ofthe United States District Court for the Eastern District ofNew York,I realized that a

 male federal court security officer whose last name is Huvane was in that that office with me and

 illegally subjecting me to selective-enforcement that corresponds to the class-of-one legal theory

 in regards to the Fourteenth Amendment ofthe U.S. Constitution.


 Through this letter, I urge you to immediately to act in accordance with US v. Smith,426 F.3d

 567(2d Cir. 20051 and Marom v. Cz7v ofNew York, No. 15-cv-2017(PKCJ(S.D.N.Y. Mar. 7.

 20161 by imposing strict discipline upon the U.S. Marshals Service and the federal court security

 officers that work inside ofthat courthouse that will cause me to no longer be subject to

 selective-enforcement nor any other acts by them that violate my constitutional rights and other

 applicable laws that include 41 C.F.R. §102-74.390 and 18 U.S.C. §1513 while I am inside of

 that courthouse and am conducting myselfin a lawful manner.




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 The following pertinent excerpt from US v. Smith.426 F.3d 567(2d Cir. 2005)confirms that

 judges ultimately control all aspects of how court personnel that include security personnel

 operate in courthouses:

    "III. Control of Court Access


     Although we conclude that Smith's constitutional rights were not violated by the imposition
     ofa photo identification requirement, 576*576 we note our concerns about unilateral steps —
     even commonsensical and fully justified ones — by the executive branch that restrict court
     access. Going forward, we emphasize that any such steps must be coordinated with, and
     approved by the courts. While the Marshals Service and Secretary ofDHS are charged by
     Congress with protecting the federal courts,see 28 U.S.C. § 566;40 U.S.C. § 1315,the
     Supreme Court has made clear that "courtroom and courthouse premises are subject to the
     control ofthe court." Sheppard v. Maxwell 384 U.S. 333.358.86 S.Ct. 1507.16 L.Ed.2d
    600(1966):see also Westmoreland v. CBS,Inc., 752 F.2d 16.24 n. 13(2d Cir.l984)("the
    judiciary ... has always had control over the courtrooms"); Brewster v. Bordenkircher. 745
     F.2d 913.916(4th Cir.1984)("It is [the districtjudge] who is best equipped to decide the
     extent to which security measures should be adopted to prevent disruption ofthe trial, harm
     to those in the courtroom, escape ofthe accused,and the prevention of other crimes.").

     Control by the courts is essential, because the judiciary is uniquely attuned to the delicate
     balance between defendants' Sixth Amendment rights to public trial, the public and press's
     First Amendment rights to courtroom access, and the overarching security considerations that
     are unique to the federal facilities containing courtrooms. Because ofthese factors, special
     concerns arise when security measures that seem obvious or commonplace in some settings
     are transferred to the door ofsuch facilities. The judiciary is uniquely competent to strike the
     proper balance. It is especially important that thejudiciary maintain control ofsecurity
     measures that may affect those having business before the courts, because ofthe danger that
     litigants could be excluded from the courtroom and procedurally penalized for their absence
     through no fault oftheir own and without the knowledge ofthe court. For these reasons, we
     expect the Marshals Service to consult with the courts before implementing general security
     measures that significantly affect court access. Such restrictions should then be approved by
     the judiciary through,for example,their relevant court security committees."

 The following is a pertinent excerpt from Marom v. City ofNew Yorh No. 15-cv-2017(PKC)

 (S.D.N.Y. Mar. 7,2016)that concerns failures by law-enforcement officials to intervene to

 protect constitutional rights from being infiinged:

    "All law enforcement officials have an affirmative duty to intervene to protect the
    constitutional rights ofcitizens from infiingement by other law enforcement officers in their
    presence." Anderson. 17 F.3d at 557."An officer who fails to intercede is liable for the
    preventable harm caused by the actions ofthe other officers where that officer observes or


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     has reason to know:(1)that excessive force is being used, □ (2) that a citizen has been
     unjustifiably arrested [] or (3) that any constitutional violation has been committed by a law
     enforcement official []." Id. However, "[i]n order for liability to attach, there must have been
     a realistic opportunity to intervene to prevent the harm from occurring."

 Although the following excerpt from Cohen v. California. 403 U.S. 15. 91 S. Ct. 1780. 29 L. Ed.

 2d 284 (1971) is presented here in an out-of-context manner with respect to how it was used in

 that case, that finding still applies to privacy rights in courthouses:

     "It may be that one has a more substantial claim to a recognizable privacy interest when
     walking through a courthouse corridor than, for example, strolling through Central Park"


  Attached to this letter are printouts of two e-mail messages that I sent yesterday to a) the

  division within the U.S. Marshals Service that handles Freedom of Information Act ("FOIA")

  requests and b) the Internal Affairs division of the U.S. Marshals Service. I sent those e-mails to

  a) report illegal acts that were committed yesterday against me inside of the United States

  District Court for the Eastern District of New York in Brooklyn by two male federal court

  security officers whose last names are Huvane and Gillespie who were following illegal orders

  that were issued by the U.S. Marshals Service and b) order the U.S. Marshals Service to

  immediately provide me video recordings that were recorded yesterday by video security

  cameras that it controls in that courthouse of my presence in that courthouse that can

  substantiate my claims against the federal court security officers and U.S. Marshals Service.

  The illegal acts that were committed against me yesterday in that courthouse were patently

  obvious stalking, selective-enforcement, and harassment in flagrant violation of my Fourteenth

  Amendment rights under the color of law that didn't grant me any due process whatsoever to

  contest the validity of those illegal acts before they were imposed upon me in that courthouse. I

  have never conducted myself in an unlawful, harassing, disorderly, or threatening manner while

  I have been inside of that courthouse. The U.S. Marshals Service has a track record of illegally



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  concealing and destroying video recording evidence that is recorded by video security cameras

  that it controls that are installed in federal courthouses located in New York City in response to

  lawfiil and timely orders that I have issued to it to provide me those video recordings largely to

  substantiate valid claims against federal court security personnel. In doing so,the U.S. Marshals

  Service has flagrantly violated 18 U.S.C. §1512,18 U.S.C. §1519,and my rights pursuant to the

  First Amendment,Fifth Amendment, Freedom ofInformation Act, and 5 U.S.C. §552(a).



 Thank you for your time and consideration.



 Regards,


 Towaki Komatsu




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 From: Towaki Komatsu <towaki_komatsu@yahoo.com>
 Subject: Re: Complaint against federal court security officers today inside ofthe United States
 District Court for the Eastern District ofNew York
 Date: September 30,2019 at 6:12:30 PM EDT
 To: intemal.affairs@usdoj.gov

 Internal Affairs team,

 I'm sending you this message to file a new complaint with your team against federal court
 security officers whose last names are Humane and Gillespie that illegally stalked me between
 2:10 pm and 2:45 pm today in violation of 18 U.S.C. §1513(e), 18 U.S.C. §245(b)(5),41 C.F.R.
 §102-74.390, and my 14th Amendment rights that pertain to selective-enforcement while I was
 inside of the United States District Court for the Eastem District ofNew York.

 Mr. Huvane is a Caucausian male and bald. Mr. Gillespie is a Black male who is roughly 6 feet
 and 4 inches in height. He told me today that he was then Mr. Huvane's supervisor and that he
 directed Mr. Huvane to follow me in that courthouse. While doing so, Mr. Gillespie indicated
 that he received an order from the U.S. Marshals Service to have that happen. In stark contrast to
 Mr. Huvane, Mr. Gillespie, and members ofthe U.S. Marshals Service I conducted myselfin an
 entirely lawful manner throughout the entire time that I was inside offederal courthouses today
 in Brooklyn and Manhattan.

 I first became aware that Mr. Huvane was stalking me today inside ofthe United States District
 Court for the Eastem District ofNew York after I finished conducting legal research inside ofthe
 pro se office in that courthouse. When I tumed to leave that office, I spotted him loitering in that
 office. It was patently obvious then from pertinent circumstances that he was stalking me and
 violating my privacy rights while illegally subjecting me to selective-enforcement in furtherance
 of maintaining an illegal vendetta that the U.S. Marshals Service continues to illegally have in
 place against me in retaliation for valid complaints that I have filed against the U.S. Marshals
 Service and federal court security officers.

 When I lawfully confronted Mr. Huvane about stalking me and violating my privacy rights in
 that courthouse today while also illegally subjecting me to selective-enforcement by clearly
 ordering him to tell me why he was doing so, he made it clear to me that he received an order to
 do so and fraudulently claimed that I don't have privacy rights while I am inside offederal
 courthouses.

 When I then talked to Mr. Gillespie about those illegal practices against me while clearly telling
 him that the U.S. Marshals Service was issuing illegal orders for that practice to be applied
 against me,he told me that I could file a complaint with the U.S. Marshals Service about it and
 made it clear that he would continue to have lhat illegal practice used against me in that
 courthouse.


 Furthermore, as I was about to enter a men's restroom in that courthouse, Mr. Huvane and Mr.
 Gillespie were standing near me. Mr. Huvane made a remark to Mr. Gillespie in which he
 originally expressed an intent to follow me in that restroom before he expressed that he changed


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 his mind about that. Such conduct offollowing me into restrooms is flagrant harassment against
 me by federal court security officers.

 Prior to exiting that courthouse today,I clearly and lawfiilly pointed out to both Mr. Gillespie
 and Mr. Huvane that they have a 14th Amendment legal affirmative duty to intervene on my
 behalfin response to practices that are being carried out against me in that courthouse that
 infringe on my constitutional rights. However,they ignored that point and violated applicable
 law by canying out the unlawfiil order that the U.S. Marshals Service directed them to carry-out
 against me.


 From,

 Towaki Komatsu




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 From: Towaki Komatsu <towaki_komatsu@yahoo.com>
 Subject: Re: New Freedom ofInformation Act demand for video
 Date: September 30,2019 at 5:49:26 PM EDT
 To: USMS FOIA <USMS.FOIA@usdoj.gov>
 Cc: intemal.affairs@iisdoj.gov

 My name is Towaki Komatsu.

 I am ordering the United States Marshals Service in accordance with the Freedom ofInformation
 Act("FOIA"), my First Amendment rights. Fifth Amendment rights, and 5 U.S.C. 552(a)to
 promptly provide me all video recordings that were recorded today of me between 2:10 pm and
 2:45 pm by video security cameras controlled by the U.S. Marshals Service inside ofthe United
 States District Court for tiie Eastem District ofNew York that is located at the following address:


 225 Cadman Plaza E
 Brooklyn, NY 11201


 While I was in that courthouse today during that time,I spent time in the pro se office on its first
 floor and used a men's restroom located just past the area where visitors undergo security checks
 upon entering that courthouse.

 The video recordings that must be provided to me that were recorded today in that courthouse
 must include the video recordings tiiat were recorded by those security cameras ofthe
 interactions that I had male federal court security officers whose last names are Huvane and
 Gillespie. Mr. Huvane is Caucasian and bald, ^/h•. Gillespie is Black and roughly 6 feet and 4
 inches in height. Also, Mr. Gillespie told me today in that courthouse that he was Mr. Huvane's
 supervisor. The video recordings that must be provided to me that I described above must also
 include the video recordings that were recorded by those security cameras of Mr. Huvane and
 Mr. Gillespie following me in that courthouse and being in the pro se office in that courthouse
 while I was in that office.




 My mailing address is:


 Towaki Komatsu
 802 Fairmount Place.
 Apartment 4B
 Bronx,NY 10460




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 From,

 Towaki Komatsu




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